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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                  )
ATLAS, INC., et al.,              )     Case No.: 1:17-cv-01953-RDM
                                  )
             Plaintiffs,          )     Hon. Randolph D. Moss
                           v.     )
                                  )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                                  )
             Defendants.          )
~~~~~~~~~~)

    DEFENDANTS' MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 47:
                 Screenshots- Campbell
          Case 1:17-cv-01953-RDM Document 57-10 Filed 11/27/17 Page 2 of 5

t:.:;J 3.3 Crew Schedule Inqumes /Updates
                                                                                                                                                                   (14.BZ,U249,0S0917]
                                                                                                                                                                                       •ma      All.ASAJR
                                                                              :::JJ0612112011




Fri, 23 Jun     Sa~   24 Jun    Sun, 25 Jun Mon, 26 Jun Tue, 27 Jun Wed, 28 Jun Thu , 29 Jun Fri1 30 Jun                  Sat, 01 Jul        Sun, 02 Jul     Mon, 03 Jul    Tue, 04 Jul     Wed, 05Jul
M               M               M              M               M              M             M               tl M          M                  M               M              M               M
RP602           =>              =>             =>              =>             =>            =>              =>            =>                =>               =>             =>              =>
      cm                               cm              cm            cm             cm              cm             cm




                -------=- ----
Thu, 06 Jul     Fri, 07 Jul     Sa~   08 Jul   Sun, 09 Jul     Mon, 10 Jul Tue, 11 Jul      Wed, 12 Jul Thu, 13 Jul          Fri, 14 Jul     Sa~   15 Jul    Sun, 16 Jul    Mon, 17 Jul Tue, 18 Jul
M                                                                                                                            M
=>




Wed , 19 Jul Thu, 20 Jul        Fri, 21 Jul    Sa ~   22 Jul   Sun, 23 Jul    Mon, 24 Jul Tue, 25 Jul       Wed , 26 Jul Th u, 27 Jul        Fri, 28 Jul     Sa~   29 Jul    Sun, 30 Jul    Mon, 31 Jul
M                               B
                                                                                                                                                             =>             =>              =>
                - - - - - - - S6066c m =>




t:.:;J Picture of published crew schedule
                                                                                                                                                                   [14B2,UZ49,0S0917]
                                                                                                                                                                                         •ma    A11ASA1R

 Id : 1449472           tlame : jcampbell. Jeffrey D.                         Period beginning :   joG/27/2017




l:;;J Crew Schedule Mod1f1cat1on Log for 0714 2017                                                                                                                                                  IEll
Miscellaneous    Iools Yiew



                                                                                                                                                                                           Line 2 of
For     Type of Changes / IP address                                           By   User           At       On               Option        Notified         By    User            At       On

07 .14 Assi ned To 56066/ O: 01                                                43 MARIDAlIA         1: 02 OS . 26 . 2017         2 3 4
                                                                                                                      I
172 . 19 .11 . 68                                          Login                                   13  22   07 .14 . 2017     Login
172 .19 .11 . 68                                           Delete Nati                             13  24   07. 14 . 2017     Delete Hotification(s)
172 .19 .11 . 68                                           Schedule in                             13  25   07 . 14 . 2017    Schedule in Detailed format(P)
172 . 19 11 . 68                                           Schedule in                             13  27   07 . 14 . 2017    Schedule in Detailed format (P)
07 .14 Flight 56066 cancelled                                                1433 YAll KRAVET        3 21   07 . 15 . 2017         4. 5            Yes 1433 YAN KRAVET                 : 21 07. 15 . 2017
07 . 1 4 Assigned To           MED                                           1433 YAN KRAVET         3 21   07 . 15 . 2017         3.3             Yes 1433 YAN KRAVET                 . 21 07 15 2017




                                                                                                                                                                                                    47.1
       ATLAS AIR                                 Histort of changes for crew route 56066 of 07/14/2017    Page : 1
       Fri ,27 Oct 2017                                                                                   Ti m e : 14:38

       Route created by user 73 CHOUKRI SABBAGH on 05/25/2017 at 19:24:15 (job 51)
       Flight
       I         Dep Arr STD     STA  Dep date TripDay DH Lim tbl Rept Debr AC     Hotel                      End    I
       R2          CVG    CVG    000 1   1400     Fril4Jul          1                        76 F
       R2          CVG    CVG    0 001   0600     Sa t 15Ju l       2                        76F
       R2          CVG    CVG    0601    1400     Su n16Ju l        3                        76F
       R2          CVG    CVG    0001    1400     Mon17Ju l         4                        76F
       R2          CVG    CVG    000 1   1400     Tu elBJu l        5                        76 F
       R2          CVG    CVG    000 1   1400     Wed19Jul          6                        76F


       Crew Complement                              :   1 CA    I

       Route updated by user 80 TOMMY SANTIAGO on 07/09/2017 at 14: 1 3: 4 1 (Flight Sch edule Changes)
       Flight
       I         Dep Arr STD     STA  Dep date TripDay DH Lim tbl Rept Debr AC         Hote l                 f nd   I
       UA603 0     CVG    I AH   1 050   132 1    Fril4Ju l         1   DH
       5Y8676      IAH    NGU    06 15   09 15    Sat15Jul          2                        763
       AA5222      ORF    CLT    1115    1234     Sat15Ju l         2   DH
       AA5466      CLT    CVG    1545    1 718    Sat15Jul          2   DH
       R2          CVG    CVG    000 1   1400     Monl7Jul          4
       R2          CVG    CVG    000 1   1400     Tuel8Jul          5
       R2          CVG    CVG    000 1   1400     Wed19Ju l         6


       Crew Complement                              :   1 CA    I
                                                                                                                           Case 1:17-cv-01953-RDM Document 57-10 Filed 11/27/17 Page 3 of 5




47.2
        [1482.U 249.0404171                                                     ATLAS AIR                                      CREW TRANSPORT LIST 07/13/2017-07/16/2017                                                                                                      Page: 1
        Fri ,27 Oct 2017                                                                                                                                     (TIMES IN LOCAL STATION)                                                                                         Tirre : 14:50

       D.O_TE               C.t :.P.RIE?.                      CREW      _!;_~V-r!-JG                  FLT            .::..c     S'!D        DE P P.P.F. ETJ...     R.OUl'::::; I   D.!-. TE          PCS      ID          lJPJ•!E                   Dl'.TE OF    DATE OF   CREW GOI NG TO
                                                                FRON ;._p                    BY                       T"Z?~                                                                                                                          JOL"'.JE:D   BIRTH

       07/13/:0 17          ~-:las     .::..ir                  Hfi::,l 01:115' SY 8771                .5Y3771                   i:J5 BIF          L:.-~   1 45 ~   371:1           07 /08/:0l 7 01. FO        45: 014     Laurenz o , Ronald                               B- HILTON HOUSTON PO


       Oi ; :3 ; :0 1 i     DEL'!.;.                           .;,:.-: Cr..::.:..·rvc·m                C•:. 4553                 )!j rj .S   •::"VG I;...H ::.03"? OT5 •j           iJ ? /13/ ::o: 1 oi.c;..   3 S : 8~8   McMull en, B:rad                                 W- HILTON GRON INN H


       07 /13/21jl 7 DE.LT.:..                                 ex H: L:"O:il' C-VG          ~TEE:..~   rn.<!55 3                 j905 CVG I.rJi            :03~     RH34:           i)7 /07 /   : 017 01. FO   450 S. 43   Ve:rbsky,   R~nn<:it. h                          W- HILTON GRON INN H


       1}7 /:s; ::: o17 ONI T£ D AI?.:.IIES                    _;.':'L : 71S ·;_:._       E:~s         ·..r;..3$7 0              !S:s C'./G :;._q          .:cs~    S77 02.         07 /1 5 / :017 01. FO      45:00£      Cvllins , Ryan                                   W- HILTON GRON INN H


       •)7 I _ c;;.::017 i-.MER.IC.?._\l .=-.IR!. llI=:S       CVG 0Si: 7 ;._:._ ::4€                  ..;;..: 42                lj45 DFW r.:.1i           :!S~     RP7 0:          07 /1 5 / :0li    oi.c.;   4504 01     Gree:n, Douglas                                  e>p 5Y8676 I.>.H 1355 NGU 1


       TOTAL :KE CORD ( S)                       PE = i': ~ E D :       5

       S ELECTIONS MADE:
       Cr-=w P .: s i t i o n                              FD        CF.          F
       ~~ir p o rt
       DOM/ : ':-:
                                                           -Al"-
       Ca rrier s                                          A:
       Jl.ir p v r t.                                      :AE
       Base .~                                             Ail
       .". I C   Ty ]~ <;, :o;                             7C F          7C 3             76 :
       Servic~              ~ ype s                        A: l
       Cr e w      Categ o r i ~s                          All
                                                                                                                                                                                                                                                                                                          Case 1:17-cv-01953-RDM Document 57-10 Filed 11/27/17 Page 4 of 5




47.3
       ATLAS AIR                                                            CREW HOTEL ACCOMMODATION 06/13/2017-06/15/2017
       Fri ,27 Oct 2017                                                                                       CA FO ,IAH, FULL RESERVATIONS

                                        ETA                                                                                             EID                                    Telephone #
       Port F LT       DATE          (UTC time) POS ID           Crew Name                   Res erv ation#   FLT       DATE         (UTC time) Nights Hotel Name                                 Fax

       IAH   5Y853'1    06/121'17       ·104·1   FO   451·100    Castor , James ( Jirrrny)   3352989896       UA·J963   06!131'17       0230     2   B- HILTON HOUSTON POST 1-713-961-9300 JQ
                                         1042         451'182    DuPlessis, Cornelius        :W,0209230       5Y8978                    22·10    3                          1-713-961-9300 JQ
                                         1042    CA   302988     Parj\Mllli. Shoeb LCA       3344699592                                 22·1·1                              •J-713-961-9300 JQ
             UAl475     0& 131'17       ·131·1        4:o467     Gerhard, Duane              3346379542       5Y8600    06115/'1 7      0325                                1-7'13-96'1-9300 JQ
             UA6125                     ·1533         450512     Truex Brian                 3349054365                                                                     ·J-7'13-961-9300 JQ
             DL748      00''14117       0140     FO   452000     Fox, Kel ly                 33267213'14                                         2                          1-713-961-9300 JQ
             AA4672                     ·1a·15        45·159·1   Oe\er, Ch'istopher          3349054734       5Y8580    06/'16117       0850     3                          1-7'13-96'1-9300 JQ
             UA4258                     ·1832    CA   449484     Hall, Charles               3344786952       DL856     06/'151'17      1320     2                          1-7'13-00-1-9300 JQ
       !AH   AA745      06! 131'17      0256          450653     Rosenblll11, Da\id          334679874 .,     5Y8978    06/'131'17      22·11        W-HILTON GRON INN      1-28'1-449-4148       1 281 449 4713
             DL4496     06/151'17       ·1548         450092     Stewirt Sha\"1              33455845'13      5Y8580    06/16/'17       0850                                •J-281-449-4148       ., 281 449 47·13
                                                                                                                                                                                                                     Case 1:17-cv-01953-RDM Document 57-10 Filed 11/27/17 Page 5 of 5




47.4
